The Honorable Charlie Daniels Secretary of State State Capitol, Room 256 Little Rock, Arkansas 72201-1094
Dear Mr. Daniels:
This is in response to your request, pursuant to A.C.A. § 7-9-110 (Supp. 2009), for my preparation of the popular name for a resolution of the General Assembly passed at the 2009 regular session.1 This resolution, House Joint Resolution 1007 (Issue No. 3), proposes a new constitutional amendment that will be referred directly to the electorate by the 87th General Assembly. This measure will appear on the state's November 2, 2010, general election ballot.
The popular name for this proposed amendment is hereby fixed and declared as follows in order to distinguish and identify the measure, see generally Becker v. Riviere,277 Ark. 252, 641 S.W.2d 2 (1982) and Walmsley v. McCuen,318 Ark. 269, 885 S.W.2d 10 (1994): *Page 2 
                               Issue No. 3                             (Popular Name)  AN AMENDMENT TO ARKANSAS CONSTITUTION AMENDMENT 82 REMOVING FIXED CRITERIA FOR THE ISSUANCE OF ECONOMIC DEVELOPMENT BONDS BEARING THE FULL FAITH AND CREDIT OF THE STATE OF ARKANSAS AND GIVING THE GENERAL ASSEMBLY THE AUTHORITY TO SET CRITERIA THROUGH LEGISLATION
Sincerely,
DUSTIN McDANIEL Attorney General
DM/cyh
1 Subsection 7-9-110(a) requires me to "fix and declare the popular name by which each amendment to the Constitution . . . shall be designated." This mandate includes not only constitutional amendments proposed by the people under Arkansas Constitution, Amendment 7, see
A.C.A. § 7-9-107 (Repl. 2007), but also constitutional amendments submitted to the people by the General Assembly pursuant to Arkansas Constitution, article 19, section 22.See A.C.A. § 7-9-101(2) (Repl. 2007) (defining "amendment" to include amendments proposed by the General Assembly). I have no statutory authority, however, with respect to any ballot titles for the latter measures. See Op. Att'y Gen. 96-096 and A.C.A. § 7-9-204 (Repl. 2007) (stating that: "[t]he title of the joint resolution proposing an amendment to the Arkansas Constitution shall be the ballot title of the proposed constitutional amendment.").